









Dismissed and Memorandum Opinion filed June 16, 2005









Dismissed and Memorandum Opinion filed June 16, 2005.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00496-CV

____________

&nbsp;

KAVITA BETINA,
Appellant

&nbsp;

V.

&nbsp;

SRIVENKATA
HARIBABU TAMMINEEDI, Appellee

&nbsp;



&nbsp;

On Appeal from the 310th District
Court

Harris County,
Texas

Trial Court Cause No.
04-18195

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed September 8,
2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court that appellant did not make
arrangements to pay for the record.&nbsp; 

On May 17, 2005, notification was transmitted to all parties
of the court=s intention to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P. 37.3(b).&nbsp; Appellant filed no response.








Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed June 16, 2005.

Panel consists of Chief Justice
Hedges and Justices Fowler and Frost. 

&nbsp;





